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AO 106A (08/18) Application for a Warrant by Telephone or Other Reliable Electronic Means


                                      UNITED STATES DISTRICT COURT
                                                                         for the
                                                        Southern District of California

              In the Matter of the Search of                                 )
          (Briefly describe the property to be searched                      )
           or identify the person by name and address)                       )              Case No.   '23 MJ4153
               White iPhone Cellular Phone                                   )
              Case Number: SYS-23-11-1031                                    )
                    ("Target Device 1")                                      )

    APPLICATION FOR A WARRANT BY TELEPHONE OR OTHER RELIABLE ELECTRONIC MEANS
        I, a federal law enforcement officer or an attorney for the government, request a search warrant and state under
penalty of perjury that I have reason to believe that on the following person or property (identify the person or describe the
property to be searched and give its location):
 See Attachment A-1, incorporated herein by reference.

                   Southern District of     California
located in the - - - -----              ----- - - - - - - - , there is now concealed (identify the
person or describe the property to be seized):

 See Attachment B, incorporated herein by reference.

          The basis for the search under Fed. R. Crim. P. 4l(c) is (check one or more):
               ff evidence of a crime;
                 0 contraband, fruits of crime, or other items illegally possessed;
                 0 property designed for use, intended for use, or used in committing a crime;
                 0 a person to be arrested or a person who is unlawfully restrained.

          The search is related to a violation of:
             Code Section                                                               Offense Description

        Title 8 U.S.C., Sec. 1324                                       Bringing in unlawful alien without presentation

          The application is based on these facts:
        See Attached Affidavit of CBP Enforcement Officer Ramon A. Galindo, U.S. Customs and Border Protection,
        incorporated herein by reference.
           ff Continued on the attached sheet.
           0 Delayed notice of _ _ days (give exact ending date if more than 30 days: - - - - - ) is requested under
             18 U.S.C. § 3103a, the basis of which is set forth on the attached sheet.

                                                                              DZ~ CJ >liL              Applicant's signature

                                                                                 Ramon A. Galindo, U.S. Customs and Border Protection
                                                                                                       Printed name and title

Attested to by the applicant in accordance with the requirements of Fed. R. Crim. P. 4.1 by
                      telephone                       (specify reliable electronic means).


Date:            11/13/2023                                                                      /3~
City and state: San Diego, California                                               Hon. BARBARA L. MAJOR, U.S. Magistrate Judge
                                                                                                       Printed name and title
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 1
                              ATTACHMENT A-1
 2

 3
                                PROPERTY TO BE SEARCHED
 4
     The following property is to be searched:
 5
                        White iPhone Cellular Phone
 6
                        Case Number: SYS-23-11-1031
 7                      ("Target Device 1")

 8 Target Device 1 is currently in the custody of the Department of Homeland Security,
   Customs and Border Protection, 720 E. San Ysidro Blvd., San Ysidro, CA.
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                                      ATTACHMENTB
 1
                                    ITEMS TO BE SEIZED
 2

 3         Authorization to search the cellular telephones described in Attachment A-1, and
   A-2 , includes the search of disks, memory cards, deleted data, remnant data, slack space,
 4
   and temporary or permanent files contained on or in the cellular telephone for evidence
   described below. The seizure and search of the cellular telephone shall follow the
 5
   search methodology described in the affidavit submitted in support of the warrant.
 6

 7       The evidence to be seized from the cellular telephones will be electronic records,
   communications, and data such as emails, text messages, chats and chat logs from
 8 various third-party applications, photographs, audio files, videos, and location data, for
   the period of October 12, 2023, to November 10, 2023:
 9

10         a.    tending to indicate efforts to smuggle aliens from Mexico into the United
                 States;
11
           b.    tending to identify accounts, facilities , storage devices, and/or services-
12               such as email addresses, IP addresses, and phone numbers-used to
                 facilitate alien smuggling and transp01iation of smuggled aliens;
13
           C.    tending to identify co-conspirators, criminal associates, or others involved
14               in alien smuggling, or transportation of smuggled aliens;
           d.    tending to identify travel to or presence at locations involved in the
15
                 smuggling, transportation, or harboring of illegal aliens, such as stash
                 houses, load houses, or delivery points;
16
           e.    tending to identify the user of, or persons with control over or access to,
17               the Target Devices and/or

18         f.    tending to place in context, identify the creator or recipient of, or establish
                 the time of creation or receipt of communications, records, or data involved
19               in the activities described above,

20
     which are evidence of violations of Title 8, United States Code, Section 1324.
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                                           AFFIDAVIT
 1

 2              I, Ramon A. Galindo, being duly sworn, hereby state as follows:

 3                                      INTRODUCTION
             1.   I submit this affidavit in support of an application for warrant( s) to search
 4
     the following electronic device(s):
 5
                          White iPhone Cellular Phone
 6
                          Case Number: SYS-23-11-1031
 7                         ("Target Device l ")

 8                        Blue Samsung Cellular Phone
                          Case Number: SYS-23-11-1031
 9
                           ("Target Device 2")
10
     the ("Target Devices"), as further described in Attachment A-1, and A-2, and to seize
11
     evidence of crime, specifically, violations of Title 8, United States Code, Section 1324
12
     (Alien Smuggling), as further described in Attachment B.
13         2.       The requested warrants relates to the investigation and prosecution of Juan
     Manuel CEBREROS-Rojo for bringing in unlawful alien without presentation. The Target
14
     Devices are currently in the custody of Department of Homeland Security, Customs and
15
     Border Protection, 720 E. San Ysidro Blvd., San Ysidro, CA.
16         3.       The facts set forth in this affidavit are based upon my personal observations,
     my training and experience, and information obtained from various law enforcement
17
     personnel and witnesses, including my review of reports prepared by other law
18
     enforcement officers and agents. This affidavit is intended to show that there is sufficient
19 probable cause for the requested warrant and does not purport to set forth all of my
     knowledge of the investigation into this matter. Dates and times are approximate.
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 1                                TRAINING AND EXPERIENCE

 2         4.     I have been employed by U.S. Customs and Border Protection since 2003 and
     am currently assigned to the San Ysidro Criminal Enforcement Unit. I graduated from the
 3
     CBP Basic Academy at the Federal Law Enforcement Training Center in Glynco, Georgia.
 4
     I have experience and have received training with respect to conducting investigations of
 S immigration and criminal violations of Titles 8, 18, 19, and 21 of the United States Code.

           5.     My current duties involve the preparation of criminal and administrative cases
 6
     for prosecution, including the use oflinking related subjects and information via electronic
 7
     equipment and telephones. In the course of my duties, I investigate and prepare for
 8 prosecution cases against persons involved in the inducement, transportation, and

     harboring ofillegal aliens into and within the United States; and, the utilization ofillegally-
 9
     obtained, counterfeit, altered or genuine immigration documents by illegal aliens to
10
     illegally gain entry or remain in the United States.
11         6.     During my tenure as a CBP Officer, I have participated in the investigation of
     a number of cases involving the smuggling of aliens from Mexico into the United States
12
     and transportation of illegal aliens within the United States, which have resulted in the
13 issuance of arrest warrants, search warrants, seizure warrants, and the indictments of

14 persons for alien smuggling, including drivers, passengers, and guides.
           7.     Through the course of my training, investigations, and conversations with
15
     other law enforcement personnel, I have gained a working knowledge of the operational
16 habits of alien smugglers and alien transporters, in particular those who attempt to smuggle

17 aliens into the United States from Mexico and transport them throughout the Southern
     District of California. I am aware that it is a common practice for alien smugglers to work
18
     in concert with other individuals and to do so by utilizing cellular telephones to maintain
19 communications with co-conspirators and/or illegal aliens in order to further their criminal

20 activities. Because they are mobile, the use of cellular telephones permits alien smugglers
     and transporters to easily carry out various tasks related to their smuggling activities,
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 1   including, e.g., remotely monitoring the progress of the aliens while the aliens are in transit,
     providing instructions to transporters, guiding aliens to specific pick up locations, warning
 2
     accomplices about law enforcement activity in the area and the status of check-point
 3 operations, and communicating with co-conspirators who guide aliens, coordinate drop off

 4 locations, and/or operate alien stash houses.
           8.     The smuggling of aliens generates many types of evidence, including, but not
 5
     limited to, cellular phone-related evidence such as voicemail messages referring to the
 6 arrangements of travel, names, photographs, text messaging (via SMS or other

 7 applications), and phone numbers of co-conspirators and illegal aliens.            For example,
     drivers and passengers responsible for transporting illegal aliens are typically in telephonic
 8
     contact with co-conspirators immediately prior to and/or following the crossing of the
 9 illegal aliens at the border, at which time they receive instructions, including where to pick-

10 up the illegal aliens for transportation into the United States and where to take the illegal
     aliens after crossing into the United States. These communications may also include
11
     locations for delivery to stash houses and/or sponsors. Illegal aliens also are typically in
12 telephonic contact with co-conspirators prior to and following their crossing in order to

13 make smuggling arrangements, receive instructions, and report their locations after
     crossing. It is common for alien smugglers to be in contact with co-conspirators weeks to
14
     months in advance of an event to recruit drivers and to coordinate the event. It is also
15 common for co-conspirators to continue to contact each other by phone calls, social media,

16 or messaging applications when contact is lost with the driver after an apprehension has
     occurred.
17
           9.     Based upon my training, experience, and consultations with law enforcement
18 officers experienced in alien smuggling investigations, and all the facts and opinions set

19 forth in this affidavit, I know that cellular telephones (including their Subscriber Identity
     Module (SIM) card(s)) can and often do contain electronic evidence, including, for
20
     example, phone logs and contacts, voice and text communications, and data, such as
21
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 1 emails, text messages, chats and chat logs from vanous third-party applications,
     photographs, audio files, videos, and location data. ln particular, in my experience and
 2
     consultation with law enforcement officers experienced in alien smuggling investigations,
 3 1 am aware that individuals engaged in alien smuggling may store photos and videos on

 4 their cell phones that reflect or show co-conspirators and associates engaged in alien
     smuggling, as well as images and videos with geo-location data identifying alien smuggling
 5
     transportation routes, and communications to and from recruiters and organizers.
 6
           I 0.   This infonnation can be stored within disks, memory cards, deleted data,
 7 remnant data, slack space, and temporary or permanent files contained on or in the cellular
     telephone. Specifically, searches of cellular telephones may yield evidence:
 8
           a.     tending to indicate efforts to smuggle aliens from Mexico into the United
 9
                  States;
10         b.     tending to identify accounts, facilities, storage devices, and/or services-such
                  as email addresses, IP addresses, and phone numbers-used to facilitate alien
11
                  smuggling and transportation of smuggled aliens;
12
           C.     tending to identify co-conspirators, criminal associates, or others involved in
13                alien smuggling, or transportation of smuggled aliens;
           d.     tending to identify travel to or presence at locations involved in the smuggling,
14
                  transportation, or harboring of illegal aliens, such as stash houses, load houses,
15
                  or delivery points;
16         e.     tending to identify the user of, or persons with control over or access to, the
                  Target Devices; and/or
17
           f.     tending to place in context, identify the creator or recipient of, or establish the
18
                  time of creation or receipt of communications, records, or data involved in the
19                activities described above.

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 1                        FACTS SUPPORTING PROBABLE CAUSE
           11.    On November 10, 2023, at approximately 2:51 A.M., Juan Manuel
 2
     CEBREROS-Rojo (Defendant), a United States Citizen, made application for admission to
 3 the United States from Mexico at the Otay Mesa, California Port of Entry as the driver and

 4 sole visible occupant of a Gold Honda Odyssey bearing California license plates. Upon
     inspection before a United States Customs and Border Protection (CBP) Officer, Defendant
 5
     presented his California Identification Card and said he was going to San Diego, California
 6 with nothing to declare from Mexico. The CBP Officer conducted an inspection of the

 7 vehicle's interior and noticed the third-row seat slightly elevated and noticed that the carpet
     was tampered. The CBP Officer folded the third-row seat down and discovered a person
 8
     concealed within a non-factory modified compartment. The CBP Officer requested for
 9 assistance and secured the Defendant in handcuff restraints. The Defendant was escorted

10 to the security office. The vehicle was driven to secondary inspection by another CBP
     Officer.
11
           12.    In secondary, CBP Officers responded and noticed the non-factory modified
12 compartment underneath the third-row seat. CBP Officers lifted the third-row seat upward

13 and noticed it was heavy and discovered one female concealed inside the non-factory
     modified compartment. CBP Officers assisted the female exit the compartment. The
14
     female was later identified as Juana Itzel AGUILAR-Parra (Material Witness), determined
15 to be a citizen of Mexico without documents to enter the United States and is now held as a

16 Material Witness.
           13. During a video-recorded interview, Material Witness stated she is a citizen of
17
     Mexico without lawful documents to enter or reside in the United States. Material Witness
18 stated she along with family members made all the smuggling arrangements. Material

19 Witness stated she was going to pay $19,500.00 U.S. dollars upon successfully entry into
     the United States. Material Witness said she was going to San Jose, California. Material
20

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 1 Witness stated that while she was in the modified compartment, the operator of the vehicle
     asked her how she was doing.
 2
           14.   Juan Manuel CEBREROS-Rojo was the sole visible occupant of the vehicle.
 3 Target Device 1 was discovered in the center console of the vehicle. Target Device 2 was

 4 discovered in a storage compartment in the center console area of the vehicle underneath
     the stereo. CEBREROS-Rojos acknowledged the Target Devices as his. The Target
 5
     Devices were subsequently seized.
 6         15.   Based upon my experience and training, consultation with other law
 7 enforcement officers experienced in alien smuggling investigations, and all the facts and
     opinions set forth in this affidavit, I believe that telephone numbers, contact names,
 8
     electronic mail (email) addresses, appointment dates, messages, pictures and other digital
 9   information are stored in the memory of the Target Devices. In light of the above facts
10 and my experience and training, there is probable cause to believe that the Defendants were
     using the Target Devices to communicate with others to further the smuggling of illegal
11
     aliens into the United States. Further, in my training and experience, alien smugglers may
12 be involved in the planning and coordination of transporting and smuggling events in the

13 days and weeks prior to an event. Co-conspirators are also often unaware of a defendant's
     arrest and will continue to attempt to communicate with a defendant after their arrest to
14
     determine the whereabouts of the aliens. Based on my training and experience, it is also
15 not unusual for individuals, such as Defendants, to attempt to minimize the amount of time

16 they were involved in their smuggling activities, and for the individuals to be involved for
     weeks and months longer than they claim. Accordingly, I request pennission to search the
17
     Target Devices for data beginning on October 12, 2023, up to and including November
18
     10,2023.
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 1                                       METHODOLOGY
            16.   It is not possible to determine, merely by knowing the cellular telephone's
 2
     make, model and serial number, the nature and types of services to which the device is
 3
     subscribed and the nature of the data stored on the devices. Cellular devices today can be
 4 simple cellular telephones, tablets, and text message devices, can include cameras, can
     serve as personal digital assistants and have functions such as calendars and full address
 5
     books and can be mini-computers allowing for electronic mail services, web services and
 6
     rudimentary word processing. An increasing number of cellular service providers now
 7 allow for their subscribers to access their device over the internet and remotely destroy all
     of the data contained on the device. For that reason, the device may only be powered in a
 8
     secure environment or, if possible, started in "flight mode" which disables access to the
 9
     network. Unlike typical computers, many cellular telephones do not have hard drives or
10 hard drive equivalents and store information in volatile memory within the device or in
     memory cards inserted into the device. Current technology provides some solutions for
11
     acquiring some of the data stored in some cellular telephone models using forensic
12 hardware and software. Even if some of the stored information on the device may be

13 acquired forensically, not all of the data subject to seizure may be so acquired. For devices
     that are not subject to forensic data acquisition or that have potentially relevant data stored
14
     that is not subject to such acquisition, the examiner must inspect the device manually and
15 record the process and the results using digital photography. This process is time and labor

16 intensive and may take weeks or longer.
           17.    Following the issuance of this warrant, a case agent familiar with the
17
     investigation will collect the subject cellular telephone and subject it to analysis. All
18 forensic analysis of the data contained within the telephone and its memory cards will

19 employ search protocols directed exclusively to the identification and extraction of data
     within the scope of this warrant.
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 1           18.   Based on the foregoing, identifying and extracting data subject to seizure
     pursuant to this warrant may require a range of data analysis techniques, including manual
 2
     review, and, consequently, may take weeks or months. The personnel conducting the
 3 identification and extraction of data will complete the analysis within ninety (90) days of

 4 the date the warrant is signed, absent further application to this court.

 5
                      PRIOR ATTEMPTS TO OBTAIN THIS EVIDENCE
 6                 Law enforcement has not previously attempted to obtain the evidence sought
             19.
 7 by this warrant.
     II
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     II
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     II
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 1                                        CONCLUSION
           20.    Based on the facts and information set forth above, there is probable cause to
 2
     believe that a search of the Target Devices will yield evidence of alien smuggling violation
 3 of Title 8, United States Code, Sections 1324.

 4         21.    Because the Target Devices were seized at the time of CEBREROS-Rojo's
     affest and have been securely stored since that time, there is probable cause to believe that
 5
     such evidence continues to exist on the Target Devices. As stated above, I believe that the
 6 appropriate date range for this search is from October 12, 2023, through November 10,

 7 2023.
           22.    Accordingly, I request that the Cowt issue warrants authorizing law
 8
     enforcement to search the item described in Attachment A-1, and A-2, and seize the items
 9 listed in Attachment Busing the above-described methodology .

10 I swear the foregoing is true and c01Tect to the best of my knowledge and belief.


11                                           ~~~ a . fJJl
12                                          Ramon A. Galindo, CBP Enforcement Officer

13
     Sworn and attested to under oath by telephone, in accordance with Federal Rule of
14   Criminal Procedure 4.1, this 13 th day of November, 2023.

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16 HON. BARBARA L. MAJOR
   United States Magistrate Judge
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